         Case 6:20-cv-01166-ADA Document 54 Filed 01/26/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 WSOU INVESTMENTS, LLC D/B/A                   §
 BRAZOS LICENSING AND                          §       CIVIL ACTION 6:20-cv-01163-ADA
 DEVELOPMENT,                                  §       CIVIL ACTION 6:20-cv-01164-ADA
           Plaintiff,                          §       CIVIL ACTION 6:20-cv-01165-ADA
                                               §       CIVIL ACTION 6:20-cv-01166-ADA
 v.                                            §       CIVIL ACTION 6:20-cv-01167-ADA
                                               §       CIVIL ACTION 6:20-cv-01168-ADA
 SALESFORCE.COM, INC.,                         §       CIVIL ACTION 6:20-cv-01169-ADA
          Defendant.                           §       CIVIL ACTION 6:20-cv-01170-ADA
                                               §       CIVIL ACTION 6:20-cv-01171-ADA
                                               §       CIVIL ACTION 6:20-cv-01172-ADA



                 JOINT NOTICE CONCERNING SCHEDULING ORDER

TO THE HONORABLE COURT:

        Plaintiff WSOU Investments, LLC (“WSOU”) and Defendant Salesforce.com, Inc.

(“Salesforce”) (collectively, the “Parties”), pursuant to the Court’s Standing Order Regarding

Joint or Unopposed Request to Change Deadline, submit this Joint Notice to memorialize their

agreement to extend case deadlines. Importantly, the adjusted dates do not affect dates that

would affect the Court (i.e., the Markman hearing date). The Parties have jointly agreed to

modify the schedule as follows:

 Date                                               Item
                                                    Deadline to serve Final Infringement and
                                                    Invalidity Contentions. After this date, leave of
                                                    Court is required for any amendment to
                                                    Infringement o Invalidity contentions. This
 February 3, 2022
                                                    deadline does not relieve the Parties of their
                                                    obligation to seasonably amend if new
                                                    information is identified after initial
                                                    contentions.




                                                1
        Case 6:20-cv-01166-ADA Document 54 Filed 01/26/22 Page 2 of 3



Date: January 26, 2022                   Respectfully submitted,

                                           /s/ Mark D. Siegmund
                                           Mark D. Siegmund
                                           Texas Bar No. 24117055
                                           mark@swclaw.com
                                           STECKLER WAYNE COCHRAN
                                           CHERRY, PLLC
                                           8416 Old McGregor Rd.
                                           Waco, Texas 76712
                                           Telephone: (254) 651-3690
                                           Facsimile: (254) 651-3689


                                           James L. Etheridge
                                           Texas Bar No. 24059147
                                           Ryan S. Loveless
                                           Texas Bar No. 24036997
                                           Brett A. Mangrum
                                           Texas Bar No. 24065671
                                           Travis L. Richins
                                           Texas Bar No. 24061296
                                           Jeff Huang
                                           Etheridge Law Group, PLLC
                                           2600 E. Southlake Blvd., Suite 120 / 324
                                           Southlake, TX 76092
                                           Tel.: (817) 470-7249
                                           Fax: (817) 887-5950
                                           Jim@EtheridgeLaw.com
                                           Ryan@EtheridgeLaw.com
                                           Brett@EtheridgeLaw.com
                                           Travis@EtheridgeLaw.com
                                           Jeff@EtheridgeLaw.com

                                           ATTORNEYS FOR PLAINTIFF WSOU
                                           INVESTMENTS, LLC d/b/a BRAZOS
                                           LICENSING AND DEVELOPMENT


Date: January 26, 2022                   Respectfully submitted,

                                           /s/ Kevin Johnson
                                           Scott L. Cole
                                           scottcole@quinnemanuel.com
                                           Quinn Emanuel Urquhart & Sullivan, LLP
                                           201 West 5th Street
                                           11th Floor


                                     2
Case 6:20-cv-01166-ADA Document 54 Filed 01/26/22 Page 3 of 3




                                 Austin, TX 78701
                                 Telephone: (737) 667-6104

                                 Kevin P.B. Johnson
                                 kevinjohnson@quinnemanuel.com
                                 Todd Briggs
                                 toddbriggs@quinnemanuel.com
                                 Ray R. Zado
                                 rayzado@quinnemanuel.com
                                 Quinn Emanuel Urquhart & Sullivan, LLP
                                 555 Twin Dolphin Drive, 5th Floor
                                 Redwood Shores, CA 94065
                                 Telephone: (650) 801-5000
                                 Facsimile: (650) 801-5100

                                 Sam Stake
                                 samstake@quinnemanuel.com
                                 Quinn Emanuel Urquhart & Sullivan, LLP
                                 50 California Street, Floor 22,
                                 San Francisco CA 94111
                                 Telephone: (415) 875-6600
                                 Facsimile: (415) 875-6700

                                 ATTORNEYS FOR
                                 SALESFORCE.COM, INC.




                             3
